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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

CANDICE L. BOX,                            )
                                           )
         Plaintiff,                        )
                                           )
v.                                         )       CASE NO.: 1:17-cv-00122
                                           )
GEICO  CASUALTY                   COMPANY; )
GEICO  GENERAL                   INSURANCE )
COMPANY,                                   )
                                           )
         Defendants.                       )


                  INITIAL DISCLOSURES OF DEFENDANTS,
     GEICO CASUALTY COMPANY AND GEICO GENERAL INSURANCE COMPANY

         COME NOW the Defendants, GEICO Casualty Company and GEICO General Insurance

Company [sometimes collectively referred to as “GEICO” or “these defendants”], by and

through counsel, pursuant to Rule 26 of the Federal Rules of Civil Procedure, and provides the

following initial disclosures:



      1. The name and, if known, the address and telephone number of each individual likely to

         have discoverable information – along with the subjects of that information – that the

         disclosing party may use to support its claims or defenses, unless the use would be solely

         for impeachment:

         Response: These defendants incorporate by reference the initial disclosures of the

         Plaintiff as to this item; in addition, these defendants list any first responders to the

         subject accident scene, any other medical provider of plaintiff which may become known
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       during the course of discovery, and reference the handling claims examiner at GEICO

       Claims, One GEICO Center, Macon, GA.

   2. A copy - or a description by category and location - of all documents, electronically

       stored information, and tangible things that the disclosing party has in its possession,

       custody, or control and may use to support its claims or defenses, unless the use would be

       solely for impeachment:

       Response: These defendants may use any material disclosed by any other party to this

litigation; in addition: the certified copies of insurance policies relevant to this case, which were

produced to plaintiff’s counsel on June 23, 2017 and June 27, 2017; transcript of statement taken

from Plaintiff, Candace Box, taken with permission on or about February 17, 2016; letter of

February 25, 2016 from GEICO to Long & Waite; letter of February 26, 2016 from GEICO to

Long & Waite; letter of September 26, 2016 from GEICO to Long & Waite; letter of January 3,

2017 from GEICO to Long & Waite; letter of January 31, 2017 from GEICO to Long & Waite.



        3. A computation of each category of damages claimed by the disclosing party:

       Response: None claimed by these defendants.



       4. Produce for inspection and copying as under Rule 34, any insurance agreement under

which an insurance business may be liable to satisfy all or part of a possible judgment in the

action or to indemnify or reimburse for payments made to satisfy the judgment:

       Response: this material has previously been produced to plaintiff’s counsel on June 23,

2017 and June 27, 2017.
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       Respectfully submitted,
                                              /s/ Victor A. DuBose
                                              Victor A. DuBose (MB # 8934)
                                              Attorney for GEICO General Insurance Company,
                                              Defendant

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been electronically filed
with the Clerk of Court using the ECF system which gave notification of such filing to the following
counsel of record on this the 5th day of July, 2017, and that a copy of the referenced material has
been furnished to plaintiff’s counsel on the date(s) noted and/or via email this day.

Robert L. Mitchell, Esq.
Cunningham Bounds, LLC
P. O. Box 66705
Mobile, AL 36660

Counsel for Plaintiff
                                                     /s/ Victor A. DuBose
                                                     OF COUNSEL
